L S l)lSlRl(` l (()glg§l§evllol)?ilq»lieeotp 3/\51110511-&(;1?111$1_111111!:1)110;103"1|'§]1enid tisle‘ Wi h Sul:')ci|'v liesecd lQl]’/Z:|'/O9 Pa`ge 1 Of.lu§gnw ntl‘ 2'1151 l ul >
United States District Court

District of l\/Iaryland
ti(il)l$
U`Nl"l`b`.l`) S'l`A'l`ES OF /\l\/lERIC/\ 1 AMF.NDED JI'DGMENT Il\' A CRIIVHNAh (".`ASH
“ ~ '~ _' ""', (For Ol`f`enscs C,‘onnnittcde)11oi‘1-’\l`1c1'Novt~inhe»r l. l‘)X'/')
y l l (`zu;e Numl)e:r: C`C`B-l)’?we;i"()}$$
wit f“/_,> /\ G` :)LlSh/I Nun1l')ci‘:43(l()t<-t)37
ALAN BRIAN FABLFAN.,.\;.\ -_;* ,~1 1' ~f cl`cndant’$ /\ttorncy: tlzune:s Wydn, l"l’l) und Sc.au

Vitrzino, AFPD

Assistant U.S. Attoi*ncy: U.S. Attorncy: 'l`e)nya Ke‘ll_\'
Kowitz and Je)nuthztn Bii'un

Dz-ltc of`Originul Judgmcnt: C)c\ober 24, 2008

(r)r ria/c Qfln.i'l union111'¢!_/1/<[1:)111’n1)

Reason for Amendment:
Direct l\/l()tion to Dis;ti'ict Couit Pui'suttnt to:
281_!.8.(`,`,.§2255;
[] 1811.§.€.§355)¢)( or
Modil`\cution oi` Re: stitution Ordci
l:l Oi'dur ut` Court
'l`HE DE}<`ENDAN'\`:
pleaded guilty to count(S) (`ount 9 und 25 ol`Supci'scdint; lndictmcnt.

pleaded nolo contendere to count(S`) mm_”__m, which was accepted by the court
l:_§ was found guilty on ce)t111t(s`) m after a plea et)t` not guilty
Date Count
Tme & Se¢u(m Nnture of ()ffcnse ()ffense (.`onclude‘d N,_u_m___l)crj_)
13 11__§_()4 §§ 1341 Muil Fratid. June' l l, 2004 9 of Supciscding
lndictn'icnt
26 U_S,(" § 72()(,11) Stibsc1'1l1111g 21 l~`alse: 'l`zi.‘e Rlcturn. ()ctuhct‘ lj. 2004 25 e'1l`Su11e‘1'se‘.d1ng

lndie‘uncnt

Thc defendant is adjudged guilty ol`thc Ot`fcnsc(s) listed above and Scntcnccd ns provided in pages 2 through
5 dt` this 1 udgi'n@nt. "l`hc sentence is imposed pursuant to thc Scntcncing, Re=:fonn Act ot` 1084 us modified
by U.S, v. Bookui', lZS S. C`.t. 738 (20(`)5).

g Thc defendant has been t`e')und not guilty on count(s) »_“
M Count(:;) l through 81 l() through 241 and 26 ()l` Supcrsedini; lndie;tmcnl arc dismissed on thc motion ol`the:
linith Stntcs.

 

l'l` IS FURTH ER ()RDERED that thc dcfbi'idantslmll notil`ythcllnitcdSttitcs./\tte')ri1e‘>' lot this district within
30 days ot` any change ol` namc. msidcnc& 01' mailing addrosS until all lincs. restitution, cost& and S11uciul
assessments imposed by this judgment arc l’ully puid.

 

l)zitc ol` lmposition 1‘)1".ludg_n1cn\

1 , l »1@. . / ,. 1 i`
L`athcrinc L.`. l%lul<c f l);nu
UNl'I`I§D S'l`A'l`l{S DlS'l"l{l(,"l` .IUl)Gl£

 

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l` S i`)lS'l`R|(“"l` t"t.`)L`R’l` ti<ev. 420th Shcct 2 - /\mcnel\‘d Judgmcnt in a t`rlininal (`:1se with S\tperrvised Rclcase~ .lndgnn~ni l’agc 2 ot`

DEFENDANT: AIi/\N B. FABIAN CASE NUMBER: CCB-(l7-cr-0355

Il\/lPRISONMENT

'flie defendant is hereby committed to the custody ot`the United States Bureau of l’risons to he imprisoned for
a total tenn of 108 months on Count 9 and §§ months on C`ount 25 to run concurrent

l;\I 'l`hc court makes the following recommendations to the Bureau of Prisons; : 'l`hat the defendant he designated
to the in federal prison camp at Petershurg \/irginia for service of his sentence

[:] 'l`he defendant is remanded to the custody ot"the United States Marshal.
'l`he defendant shall surrender to the United States Marshal for this distriet:

at ___11.1'1‘1./1).111. on _w_W .
as notified hy thc United States l\/larshal.

'l`he defendant shall surrendcr. at his own expense to the institution designated hy the l%urc.au ofl"risons at
thc date and time specified in a Written notice to he sent to the defendant by the linited Stutcs N'larshal which
shall not hc earlier than l')cccmher 2¢,), 2008. lt" the defendant does not receive such a written noticc.
defendant shall surrender to the l,lnited Statcs l\durshul:

M before 2 p.m. on January 5, Zt)()().

A defendant who fails to report either to the designated institution or to thc United States Marshal as
directed shall be subject to the penalties ofTitle 18 U.S.C. §314(1. Ifconvicted of an offense while on rcleasc,
the defendant shall he subject to the penalties set forth in 18 U.S.C. §3|47. F`or violation of a condition of
rclcase, the defendant Shall he subject to the sanctions set forth in Title 18 U.S.C. §3148. An_v bond or
property posted may he forfeited and judgment entered against the defendant and the surety in the full
amount of the bond.

RETU RN

l have executed this judgment as follows:

l)efendant delivered on to at
t With a certified copy of this judgment

 

 

l?i\ll"`l"l{l) S'l`/\'l`l",S l\/l .»'\ RSl l Al

1)1~;1>1_1'1‘Y u.s. hiAitsii/ei,…'

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lf.S. l)[S'l`Rl(,"f ("()l,ll<'l`(l{ev. l,’lttt)§) Shect .'l ~ Ainendctl ludttinent in ii (`riniinal (.`ase with Supervised Relcasc .ludgnicnt l‘ui:c 3 ot'$
DEFENDANT: ALAN B. FAB|AN CASE NUMBER: (',TC`B-(W-cr-t)$$$

SUPERV]SEI) RELEASE

Llpon release from iinprisoninent, the defendant shall be on supervised release for a tenn of."i years as to Couiit
9 and l year as to Count 25 to run concurrent .

The defendant shall comply with all of the following conditions:

"l"he defendant shall report to the probation office in the district to which the defendant is released within 72
hours of release from the custody of the litireau of Pi'isons.

A. S'I"A"I`U"I`ORY C()ND['I`IONS OF SUPERV|SEI) RELEASE

l ) 'l`hc defendant shall not commit any fcdcral, state or local crime

2) fn any felony case. the defendant shall not possess a firearm or ammunition as defined in lS U.S.(`, §‘)2 l.

3) 'l"he defendant shall not illegally use or possess a controlled substance

4) The defendant shall submit to one drug test within 15 days of release from iinprisoni'nciit and at least two
periodic drug tests tlierca'f"tcr, as directed by the probation ofticcr.

"l`he above drug testing condition is suspended based on the court’ s determination that the <:let"endant

poses a low risk of future substance abuse (Chcck, if applicable.)

5) f’ursuant to Pub. Law lt)f€-~”lf)§, Revised DNA Collection Requircments finder the Justice for All Act of
2()04, if applicable the defendant shall cooperate in the collection of DNA while incarcerated in the Bureau ot`
Pi'isons, or as directed by the probation officer

o) Iftl'iisjudgment imposes any criminal monetary pcnalty, including special assessment finc` or restitution
it shall be a condition of supervised release that the defendant pay any such monetary penalty that remains unpaid
at the commencement of the term of supervised release in accordance with the Schedule of Payn'icnts set forth in
the Criminal Monetary Peiialties sheet ofthisjudgmcnt. The defendant shall notify the court ofany material change
in the defendant`s economic circumstances that might affect the defendant’s ability to pay restitution, lines. or
special assessments

B. S'I`ANDARD CONDITI()NS OF SUPERVIS!ON

l ) 'l`lic defendant shall not leave thc judicial district without the permission of`the court or probation ol`licci';

2) 'flie defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
each monch

3 ’I`he defendant shall answer truthfully all inquiries by the probation officer and follow the instructions ofthc probation ol`ticei';

4) 'l`he defendant shall support his or tier dependents and meet other family responsibilities

5) 'l"hc defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, trainiiig, or other
acceptable reasons;

o) ’l`he defendant shall notify the probation officer ten days prior to any change in residence or employment

7) "l`hc defendant shall refrain from excessive usc of alcohol;

$l) 'l"hc defendant shall not frequent places where controlled substances are illegally sold` uscd. distributed, or adininisiered;

‘)) Tlie defendant shall not associate with any persons engai;cdin criminal activity and shall not associate with any persons con\ icicd
of`a felony unless granted permission to do so by the probation ofiicer;

ttt) f`he defendant shall permit a probation officer to visit him or her at any time at lioine or elsewhere and shall permit confiscation ot`

an_v contraband observed in plain view of the probation ol`ficer',

l) 'l`he defendant shall notify the probation officer within 72 hours of being arrested or questioned by a law enforcement of`ficcr;

Z) `l`lic defendant shall notify the probation officer within 72 hours ofbeing charged with any offense including a traffic of l`cnsc'.

“>) "l"he defendant shall not enter into any agreement to act as an informer or special agent of n law enforcement agency without the

pennission of the coiiit:

l4) As directed by the probation ot`ficer~ the defendant shall notify third parties ofrisks that maybe occasioned by the defendants`s criminal
record or personal history or characteristics, and shall permit the probation officer to make such notifications and to confirm the
defendant`s compliance with such notification requirement

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U'S. l)IS’I`RI(j`T C`()t,lR"l'(ReV, ¢t/Z()O(i) Slieei 5 t’ait A -- Amended Judgiiient in a (.friininal (.`ase with Stipervist‘d lteleaise .ltidginmt t’;ige¢t t)t` 5
DEFENI)ANT: ALAN B. FABIAN CASE NUMBER: CCB-()7-er-0355

CRIM[NAL MONETARY PENAL'I`lES

'l`lie defendant must pay the total criminal inonetaiy penalties under tlie schedule <)l`payinents on Slieet SB.

   

tim Ei_n_€ R tith
'l`()'l`/\lii‘~` S 2()().(.)() $ §§ ~ltl`l(iz,()_°\}.<\iz
ij (`Vl§ l’roeessmg l"ee $'.‘.5.()()
§ , /\n ftl/rendach ./iirIg/'zic')il i/i ii (.`)'i'r)ii.ri<// ('u.t‘<* ix\t,.> 245£") will ‘ne

'llie determination ot` restitution is deferred until . .
entered after such determination

l:l lite defendant must make restitution (ineluding community restitution) to the following payees in tlie amount listed below

if the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
otherwise in the priority order or percentage payment column below. Ilowever, pursuant to 18 U.S.(j‘. § 3664(i). all nonfederal
victims must lie paid before the United States is paid
Naine ot' Pa\;'g_g "l`otal lit)s§f Restitutit)n ()rdt‘re_§l. Priorityv or Percentage
` . t 5;4(),1(2,(33.82
tim-ii zit<),nizii_::i.sz ` l
U.."& l)isti'iet (§`ourt

l()l W, lernnliard
lialtiinore_ Ml) ZIZ(ll

'l"`(`)"[`Al_iS .‘i§ 4(),]62,633.82 iii 4().l62.633.82

l:] kestitution amount ordered pursuant to plea agreement

l:] l'l`lie defendant must pay interest on restitution and a line oi` more than $2.5()()_ unless t'lie restitution or line is paid iii i`ull
before the fifteenth day at`ter tlie date <)t`tlie_judgment, pursuant to 18 U.S.(.`. § 3()1'2(|). ,/\ll ol` the payment options on .\`lieet o
may be sul)_ieet to penalties t`oi' delinquency and clel`atilt` pursuant to 18 U.S.C. § fiol’l(g).

ij 'l`lie court determined tliat tlte defendant does not have tlie ability to pay interest and it is ordered tliat:
ij tlie interest requirement is waived t`or i'_'_l tin m restitutiori.
53 the interest requirement t"or [_"j line l:] restitution is modified as t`ollo\t's:

 

* l"indings i`or die total amount t)i`losses are required under Cliapters l()()l/\n l ltl, l ltl.‘\_ and l ll`)A ol"l`itle 18 l`oi' offenses committed
on or after September l 3` l()*)/l_ but before April 23, l‘)()(i.

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l.l.S. l)lS'l`Rl("l` COURT(Rev. ~t¢"Ztlt)t~/) Sheet 5. Pan ll ~ Aincnded Judgment in a Ci'iiniiial (`a.\;e witli Super\-'istd l{eleast‘ Jiideinent Ptige 5 ol`i
l)EFENI)ANT: AI.AN B. FABIAN CASE NlTl\/ll`llilR: CCB-(W-cr~(l$$§

SCHEDULE OF PAYMEN'I`S

l"’nynients shall he applied in the following order: (l) as,Se.`;smenth (2) restitution pi'iiieipal. (3) restitution iiiterest_ (~l) line principal
(5) t`iiie interest_ {ti) eonii'iiunity restitiit'ioiii (7) penalties, and (8`) eosts_ including cost ot`proztecutioii and eotiit costa

Pttyi'iient of`tlie total line and other criminal monetary penalties shall he due as l`t,)llo\t#s:

./\ Special /\Ssessment to be paid in l`ull immediately

B l:] §S*___m iininediately, hzil:inee due tin accordance with C, l)` or l~`,);_ or
C." Not later than _ ; or
l) lnstallmeiit.~: to eommenee_~ day(s) after the date ol`tliis judgment.

 

ill Restitution Will be payable at §§l 5.00 per month during incarceration and $25().00 per month after release Prejudginent and post-
judgment interest shall not accrue on any ot`tlie amounts of the restitution

'l"he defendant will receive credit t`oi' all payments previously made toward any criminal monetary penalties imposed
Unless the eourt expressly ordch otherwise if t'liis`jtidginent imposes a period ot`ii‘iiprisionment, payment ot`eriininal monetary penalties
shall be due during the period ot`inipi‘isoniiient. All criminal monetary penalties except those payments made through the Bureiiu ot`l"ri`~`oii>v
lniiiate l"in;ineinl Respoiisil)ility l’rogrnni, are to he made to the Clerk ol`thc ("oiirt.
lt`tlie entire amount ol`erimiiinl monetary penalties is not paid prior to the commencement ol`superyii~ti<'ni` the balance shall lie paid
§ in equal monthly in:~tt;illineiits during the term ot`supervision; or
on a nominal pnyiiient schedule ot`$ 250.()() per month during the term ot`super\"i.tioii.
T`he U.S. probation officer may recommend ri modification ofth paynientschedule depending on the detendant`s financial eireunistanee.<.
Speeial instructions regarding the payment oi`criiniiial monetary penalties:
f:l .loi`iit and Several

I`)eieiidant und (,`o-l)el"endant Naines and Czise l\luiiibers (_iiieliiding defendant minil)er)` 'l`otnl ./\iiiouni_ .loint ziiid ."Se\'eriil .»\iiioiiiit_
and corresponding payee il` appropriate

:] "l`lie t'lel`endant shall pay the cost ot`pro.‘ieeution.
l:l "l`he delei'idant shall pay the following court eo:<t(s):

X 'l`he defendant shall l`ori`e.it the del"endant's interest in the following property to the United Stzite.~i: /\s stated iii Separute forfeiture
order.

